Exhibit A
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                          Protective Order

                 v.                                                                18 Cr. 832 (LGS)

 Ishi Woney,
                             Defendant.



       Upon the application of the United States of America, and the defendant Ishi Woney having

requested discovery under Fed. R. Crim. P. 16(a)(1)(E), the Court hereby finds and orders as

follows:

       1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include,

as detailed below material that affects the privacy of individuals, and material that affects the safety

of certain victims of the charged offenses.

       2. Sensitive Disclosure Material. The Government’s disclosure material may include

material that (i) affects the privacy of individuals; and (ii) is not authorized to be disclosed to the

public or disclosed beyond that which is necessary for the defense of this criminal case. Among

other things, the Government’s disclosure material contains photographs of certain females that

were included in advertisements for commercial sexual activities, which implicates these

individuals’ privacy rights and could impact the ongoing investigation. Disclosure materials which

contain and/or reflect such images produced by the Government in this action pursuant to its
discovery obligations are deemed “sensitive disclosure material,” and will be labeled as such in

the index produced with the discovery materials.

       3. Confidential Disclosure Material. The Government has identified certain discovery

materials pursuant to Federal Rule of Criminal Procedure 16 which contain and/or reflect personal

identifying information for the victims, one of whom was a minor at the relevant time period, of

the charged offenses, the disclosure of which would place the victims of the charged offenses in

significant danger, and which cannot feasibly be redacted. Any such materials will be marked

“CONFIDENTIAL” on an “attorney’s eyes only” basis in the index and discovery materials.

       4. Facilitation of Discovery. The entry of a protective order in this case will permit the

Government to produce expeditiously the sensitive and confidential disclosure material. It will

also afford the defense prompt access to those materials, which will facilitate the preparation of

the defense.

       5. Good Cause. There is good cause for entry of the protective order set forth herein.

       Accordingly it is hereby Ordered:

       6. Victim identities, or identifying personal information, where possible, shall be redacted

from disclosure material in order to protect the safety and privacy of the victims.

       7. Sensitive disclosure material shall not be disclosed by defense counsel, including any

successor counsel (“Defense Counsel”) other than as set forth herein, and shall be used solely for

purposes of defending this action:

               a. Defense Counsel shall not post any sensitive disclosure material on any Internet

                   site or network site to which persons other than the parties hereto have access,


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   and shall not disclose any sensitive disclosure material to the media or any third

   party except as set forth below.

b. Sensitive disclosure material may be disclosed by Defense Counsel to the

   defendant for review in the presence of Defense Counsel for purposes related

   to this case. The defendant shall not maintain, retain, or keep copies of any

   records containing sensitive disclosure material outside the presence of

   Defense Counsel.

c. Sensitive disclosure material may be disclosed by Defense Counsel to the

   following persons (hereinafter “Designated Persons”):

         (i)   investigative, secretarial, clerical, paralegal and student personnel

               employed full-time or part-time by the defendant=s attorney;

        (ii)   independent expert witnesses, investigators or advisors retained by

               the defendant=s attorney in connection with this action;

        (iii) such other persons as hereafter may be authorized by the Court upon

               such motion by the defendant.

d. The defendant and Defense Counsel shall provide a copy of this Order to

   Designated Persons to whom they disclose sensitive disclosure material

   pursuant to paragraphs 7(c)(i), (ii), and (iii). Designated Persons shall be

   subject to the terms of this Order.




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               e. The Government may authorize, in writing, disclosure of sensitive disclosure

                   material beyond that otherwise permitted by this Order without further Order

                   of this Court.

       8. Confidential disclosure material shall not be disclosed by Defense Counsel other than

as set forth herein, and shall be used solely for purposes of defending this action:

               a. Defense Counsel shall receive any materials produced pursuant to Rule 16 of

                   the Federal Rules of Criminal Procedure that are marked “CONFIDENTIAL”

                   on an “attorney’s eyes only” basis, and Defense Counsel shall not share the

                   Confidential Information or the contents of the Confidential Information with

                   any other persons, including the defendant Ishi Woney except for any paralegal

                   or staff employed by Defense Counsel in connection with work related to the

                   defense of Ishi Woney.

               b. At any time, Defense Counsel may seek leave from the Government to share

                   materials designated as Confidential Information with the defendant

                   (“Requested Material”).       The Government will promptly review such

                   Requested Material and (i) consent to the sharing of the Requested Material

                   with the defendant; (ii) provide Defense Counsel with a redacted version of the

                   Requested Material that may be shared with the defendant; or (iii) provide

                   Defense Counsel with an explanation as to why the Requested Material cannot

                   be shared with the defendant at that time, so as to facilitate the Court’s

                   consideration of any disputes regarding the Requested Material.            The


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                   Government will make all practicable efforts to oblige Defense Counsel

                   requests to share Requested Material.

        9. Except for sensitive and confidential disclosure material that has been made part of the

record of this case, Defense Counsel shall return to the Government or securely destroy or delete

all sensitive and confidential disclosure material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of direct appeal from any

order dismissing any of the charges in the above-captioned case; or the granting of any motion

made on behalf of the Government dismissing any charges in the above-captioned case, whichever

date is later.

        10. This Order does not prevent the disclosure of any sensitive disclosure material in any

hearing or trial held in this action, or to any judge or magistrate judge, for purposes of this action.

However, sensitive or confidential disclosure material pertinent to any motion before the Court

should initially be filed under seal, absent consent of the Government or Order of the Court. All

filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1. The

provisions of this Order shall not terminate at the conclusion of this criminal prosecution and the

Court will retain jurisdiction to enforce this Order until the Court orders otherwise.




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         11. This Order may be signed in counterparts and transmitted by facsimile and/or electronic

copy, each of which counterparts will be deemed to be an original and which taken together will

constitute the Order.


AGREED AND CONSENTED TO:

      GEOFFREY S. BERMAN
      United States Attorney


by:                                                                 Date: December 6, 2018
      Daniel H. Wolf
      Assistant United States Attorney


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                                                                    Date:   / -2-7 S /7
      Phillip Weins in, Esq.
      Counsel for Ishi Woney


SO ORDERED:

Dated: New York, New York
       November    , 2018


                                                       THE HONORABLE LORNA G. SCHOFIELD
                                                       UNITED STATES DISTRICT JUDGE




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AGREED AND CONSENTED TO:

   GEOFFREY S. BERMAN
   United States Attorney


by: _____________________________                       Date: December 6, 2018
    Daniel H. Wolf
    Assistant United States Attorney


   ___________________________                          Date: _____________________
   Phillip Weinstein, Esq.
   Counsel for Ishi Woney


SO ORDERED:

Dated: New York, New York
       December ___, 2018

                                            ______________________________________
                                            THE HONORABLE LORNA G. SCHOFIELD
                                            UNITED STATES DISTRICT JUDGE




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